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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     VICTORIA DIVISION

In re:                                 §
                                       §
SCOTT VINCENT VAN DYKE                 §        Case No. 21-60052
                                       §
      Debtor.                          §        Chapter 7 Case
                                       §
_____________________________________________________________________________

     JOINDER OF EVA S. ENGELHART, CHAPTER 7 TRUSTEE OF THE ESTATE OF
        ANGLO-DUTCH PETROLEUM INTERNATIONAL, INC., TO CHAPTER 7
           TRUSTEE’S OBJECTION TO DEBTOR’S CLAIM EXEMPTIONS
                            [Relates to Dkt. No. 186]

           Eva S. Engelhart (“Engelhart”), in her capacity as Chapter 7 Trustee of the estate of Anglo-

Dutch Petroleum International, Inc. (“ADPI”), submits this Joinder (the “Joinder”) to the Chapter

7 Trustee’s Objection to Debtor’s Claimed Exemptions [Dkt. No. 186] (the “Objection”). 1

                                                     JOINDER

           1.       Engelhart hereby joins in and adopts the arguments offered in the Objection and

requests that the Court enter an order limiting the Debtor’s exemption of the Real Property to the

extent any of the Debtor’s interest in the Real Property is attributable to fraudulent proceeds,

denying the Debtor’s exemption on any nonexempt vehicle, and determining any undisclosed

interests in Personal Property not specifically disclosed to be nonexempt.

                                         RESERVATION OF RIGHTS

           2.       Engelhart expressly reserves the right to supplement, modify, and amend this

Joinder both in writing and orally at any hearing or to otherwise respond to arguments regarding

the issues raised in the Objection.




1
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Objection.
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Dated: June 23, 2022                Respectfully submitted,

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                                    CHAPTER 7 TRUSTEE FOR THE
                                    ESTATE OF ANGLO-DUTCH
                                    PETROLEUM INTERNATIONAL, INC.




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